     Case 1:16-cr-00015-MW-GRJ       Document 55      Filed 09/14/16   Page 1 of 1




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                         Case No. 1:16cr15-MW/GRJ

EDWARD LEONFORTE,

          Defendant.
__________________________/

                     ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 50, to which there has been no timely objection, and subject to this

Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P. 11(e)(2),

the plea of Guilty of the Defendant to Counts 1, 2, 6, 8, 9, 10, 11, 12, 13, 14, 15, and

16 of the Superseding Indictment against him is hereby ACCEPTED.            All parties

shall appear before the Court for sentencing as directed.

      SO ORDERED on September 14, 2016.

                                        s/Mark E. Walker             ____
                                        United States District Judge
